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WESTERN DISTRICT OF TENNESSEE §
oATE. ___OH_'?LQ___

Eastern Division
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UNITED sTATEs oF AMERICA *N'T‘ALS‘
-vs- Case No. 1:01cr10060-001-T
TAMMIE MICHELE MooRE

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT

Upon motion of the Governrnent, it is ORDERED that a detention hearing is set for
TUESDAY, APRIL 26, 2005 at 2:00 P.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom No. 407, Fourth Floor, United States Courthouse and Federal Building,
l l l South Highland, Jackson, TN . Pending this hearing, the defendant shall be held in custody by

the United States Marshal and produced for the hearing.
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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

Date: April 22, 2005

 

'lf not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(t`) are present Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
inj ure, or intimidate a prospective witness or juror.

AO 470 (BIBE) Order of Temporary Datention

'l'hls document entered on the docket sheet ln com gee
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Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 1:01-CR-10060 Was distributed by faX, mail, or direct printing on
Apri126, 2005 to the parties listed.

 

 

M. Dianne Smothers

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U.S. ATTORNEY'S OFFICE
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Honorable J ames Todd
US DISTRICT COURT

